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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE: 11-cv-62241-Cohn/Seltzer



 JAN BENSON SEGAL,

         Plaintiff,

 vs.

 OAKLAND PARK INN, INC. d/b/a BEST
 WESTERN PLUS, a Florida Corporation, and
 ALICE MARQUEZ, individually,

       Defendants.
 _____________________________________/


                                     NOTICE OF SETTLEMENT

         Plaintiff, JAN BENSON SEGAL, by and through the undersigned counsel, provides this

 Notice of Settlement, and states:

         1.      The parties have reached an agreement as to the resolution of this ENTIRE

 litigation.

         2.      Plaintiff’s counsel anticipates submitting a joint stipulation requesting the

 dismissal of this matter, with prejudice and in its entirety.

 WHEREFORE, Plaintiff, JAN BENSON SEGAL, provides this Notice of the Settlement in this
 matter and respectfully request that the Court vacate all existing litigation dates in this matter as
 it has been resolved in its entirety.




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                                  CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the
 Court via CM/ECF on this 21st day of February 2012. We further certify that the foregoing was
 served on all counsel or parties of record on the attached Service List either via transmission of
 Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronic Notices of Filing.

 DATED: February 21, 2012.


 Respectfully submitted,
                                           -and-

 By:    /s/ Daniel B. Reinfeld                     By:    /s/ William Glenn Dill
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